      Case 24-16069-RG         Doc 22     Filed 09/06/24 Entered 09/06/24 11:19:34              Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD                                                          Order Filed on September 6, 2024
SUITE 330                                                                    by Clerk
FAIRFIELD, NJ 07004-1550                                                     U.S. Bankruptcy Court
                                                                             District of New Jersey
973-227-2840

                                                           Case No.: 24-16069 RG
IN RE:
  KEITH SIMMONS                                            Hearing Date: 9/4/2024
  BONNIE L SIMMONS
                                                           Judge: ROSEMARY GAMBARDELLA




                                        ORDER CONFIRMING PLAN

  The relief set forth on the following pages, numbered 2 through 2 is hereby ORDERED.




DATED: September 6, 2024
         Case 24-16069-RG           Doc 22      Filed 09/06/24 Entered 09/06/24 11:19:34                Desc Main
 Debtor(s): KEITH SIMMONS                       Document Page 2 of 2
            BONNIE L SIMMONS
 Case No.: 24-16069 RG
 Caption of Order:     ORDER CONFIRMING PLAN

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code have been complied with ; and for
good cause shown, it is
    ORDERED, that the plan of the above named Debtor dated 7/22/2024, or as amended at the confirmation hearing
    is hereby confirmed. The Standing Trustee shall make payments in accordance with 11 U.S.C. § 1326 with funds
    received from the Debtor; and it is further
    ORDERED, that to the extent that the Debtor’s plan contains motions to avoid judicial liens under 11 U .S.C.
    Section 522(f) and/or to avoid liens and reclassify claims in whole or in part, such motions are hereby granted,
    except as specified herein:
    ORDERED, that commencing 7/1/2024, the Debtor shall pay the Standing Trustee
        the sum of $630.00 for a period of 60 month(s), which payments shall include commission and expenses of
        the Standing Trustee in accordance with 28 U.S.C. § 586; and it is further
    ORDERED, that notwithstanding the preceding paragraph, in no event shall the unsecured creditors receive less
    than $27,000.00, which shall be shared on a pro rata basis; and it is further
    ORDERED, that the arrears of Capital One will be paid through the plan pursuant to the filed proof of claim ,
    unless otherwise ordered by the Court; and it is further
    ORDERED, that the Debtor's attorney is allowed a fee of $4,750.00. The unpaid balance of the allowed fee in
    the amount of $3,000.00 shall be paid to said attorney through the Chapter 13 plan by the Standing Trustee ; and
    it is further
    ORDERED, that upon completion of the plan, affected secured creditors shall take all steps necessary to remove
    of record any lien or portion of any lien discharged; and it is further

     ORDERED, that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13 Standing Trustee may
     submit an Amended Order Confirming Plan upon notice to the Debtor, Debtor's attorney and any other party
     filing a Notice of Appearance.
